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19                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
20

21   CHASOM BROWN, WILLIAM BYATT,                      CASE NO.: 4:20-cv-03664-YGR
     JEREMY DAVIS, CHRISTOPHER
22   CASTILLO, and MONIQUE TRUJILLO                    DECLARATION OF JOHN A.
     individually and on behalf of all other similarly YANCHUNIS IN SUPPORT OF
23   situated,                                         PLAINTIFFS’ MOTION FOR AN AWARD
                                                       OF ATTORNEYS’ FEES, COSTS, AND
24                         Plaintiffs,                 SERVICE AWARDS
25       v.
                                                       Judge: Hon. Yvonne Gonzalez Rogers
     GOOGLE LLC,                                       Date: August 7, 2024
26
                           Defendant.                  Time: 2:00 p.m.
27                                                     Location: Courtroom 1 – 4th Floor

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                                                1
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          DECLARATION OF JOHN A. YANCHUNIS IN SUPPORT OF PLAINTIFFS’
 1          MOTION FOR ATTORNEYS’ FEES, COSTS, AND SERVICE AWARDS
 2
            I, John A. Yanchunis, declare as follows:
 3          1.      I, along with Class Counsel, represent Plaintiffs Chasom Brown, William Byatt,
 4   Jeremy Davis, Christopher Castillo, and Monique Trujillo (“Plaintiffs”) in the above-captioned
 5   class case. I have worked on this litigation since its inception. I have personal knowledge of all
 6   matters addressed in this Declaration.
 7          2.      I submit this Declaration in support of “Plaintiffs’ Motion for Attorneys’ Fees,
 8   Costs, and Service Awards” (the “Motion”).
 9          3.      The three law firms representing Plaintiffs—BSF, Morgan & Morgan, and
10   Susman Godfrey (collectively, “Counsel”)—were appointed by this Court to serve as Co-Lead
11   Class Counsel in this matter. We have collectively led the Classes’ efforts in this case.
12          4.      This Declaration focuses on facts that bear on the Motion, including among other
13   things, providing backgrounds on the expertise of both Morgan & Morgan as a firm and the
14   particular Morgan & Morgan attorneys on this case, summarizing our work litigating this case
15   and resolving this matter, and our continued work on behalf of the Classes.
16     MORGAN AND MORGAN COMPLEX LITIGATION GROUP QUALIFICATIONS
17          5.      Morgan and Morgan (“Morgan and Morgan”) is a leading civil trial law firm
18   representing consumers and commercial clients nationwide. With over 1000 lawyers, and more
19   than 3,000 non-lawyer employees, Morgan & Morgan is the largest plaintiffs’ firm in the nation.
20   Morgan & Morgan maintains offices throughout the United States. Among its lawyers are former
21   state attorney generals and present and former members of various state legislatures.
22          6.      Morgan & Morgan has a dedicated Complex Litigation Group of which the Class
23   Action Department is a part. The Class Action Department is staffed with lawyers, paralegals,
24   and retired FBI agents serving as investigators—committed to representing consumers in
25   complex litigation, MDL proceedings and class action cases throughout the country. It has
26   achieved many remarkable results in class litigation, including the settlement of In re Black
27   Farmers Discrimination Litigation, no. 08-0511 (D.C. Oct. 27, 2017), where one of its partners
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 1   served as co-lead. The case resulted in a settlement with the United States Government in the

 2   amount of $1.2 billion for African American farmers who had been systematically discriminated

 3   against on the basis of race, in violation of the Fifth Amendment to the United States Constitution,

 4   the Equal Credit Opportunity Act, Title VI of the Civil Rights Act, and the Administrative

 5   Procedure Act. The Class Action section is a part of Morgan & Morgan’s Complex Litigation

 6   group, has assembled a talented, ethnically diverse team of lawyers. Aside from the lawyers listed

 7   below, its team of lawyers is assisted by 75 lawyers in the shared legal services section of the

 8   Complex Litigation Group. These lawyers are dedicated to document review, deposition

 9   preparations and deposition summaries. It is also assisted by a separate section of 8 lawyers,

10   comprised of former federal law clerks at the District and Circuit level, who assist the Class

11   Action section with research and writing support. For its work in data privacy litigation in 2023,

12   it was honored recently as Litigation Department of the Year in the state of Florida by

13   ALM/Law.Com.

14          7.      The partners and employees of my firm’s Complex Litigation Group who worked

15   on this matter are as follows:

16          a.      John A. Yanchunis leads the class action section of the law firm. His practice—

17                  which began after completing a two-year clerkship with United States District

18                  Judge Carl O. Bue, Jr., S. D. Tex.—has concentrated on complex litigation and

19                  spans over 43 years, including consumer class actions for more than two-thirds

20                  of that time. As a result of his extensive experience in class litigation, including

21                  privacy and data-breach litigation, he regularly lectures nationally and

22                  internationally at seminars and symposiums regarding class litigation and privacy

23                  litigation. He is a member of The State Bar of Texas and The Florida Bar. He has

24                  served as lead, co-lead, and class counsel in numerous national class actions,

25                  including multi-district litigation, involving a wide range of subjects affecting

26                  consumers, including antitrust, defective products, life insurance, annuities, and

27                  deceptive and unfair acts and practices. In 2014, he was recognized by the

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 1           National Law Journal as a trailblazer in the area of privacy litigation, and in 2019,

 2           2020 and 2023, he was recognized by Law360 as one of a very small number of

 3           MVPs in the United States in the area of privacy and cyber security litigation.

 4           For his work in the area of privacy litigation, he was awarded Lawyer of the Year

 5           in the state of Florida by ALM/Law.Com in 2022, and in 2024 , he was named a

 6           finalist for Lawyer of the Year in the state of Florida (1 of 3). In 2023, he was

 7           also recognized by Law360 as a Titan of the Plaintiffs’ Bar, and Consumer

 8           Protection Lawyer of the Year by the Consumer Protection Committee of The

 9           Florida Bar.

10                  As a result of his experience in insurance and complex litigation,

11           beginning in 2005, he was selected by Tom Gallagher, the Chief Financial Officer

12           for the state of Florida and a member of the Florida Cabinet, to serve as lead

13           counsel for the Florida Department of Financial Services and the Florida

14           Department of Insurance Regulation (the insurance regulators of Florida) in their

15           investigations of the insurance industry on issues concerning possible antitrust

16           activity and other possible unlawful activities regarding the payment of

17           undisclosed compensation to insurance brokers. He served as lead regulator

18           counsel and worked with a core group of state Attorneys General from the

19           National Association of Attorneys General, which were selected to conduct the

20           investigations. The insurance regulator for Florida was the only insurance

21           regulator in the group. The litigation that was filed and the related investigations

22           netted millions of dollars in restitution for Florida consumers and resulted in

23           significant changes in the way commercial insurance is sold in Florida and across

24           the country.

25                  During his career, he has tried numerous cases in state and federal courts,

26           including one of the largest and longest insurance coverage cases in U.S. history,

27           which was filed in 1991 by The Celotex Corporation and its subsidiary, Carey

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 1           Canada, Inc. During the seventeen years the case pended, he served as lead

 2           counsel for several insurance companies, regarding coverage for asbestos and

 3           environmental claims. The case was tried in three phases over several years

 4           beginning in 1992. He was also lead counsel for these parties in the subsequent

 5           appeals that followed a judgment in favor of his clients.

 6                  Mr. Yanchunis began his work in privacy litigation in 1999 with the filing

 7           of In re Doubleclick Inc. Privacy Litigation, 154 F. Supp. 2d 497 (S.D.N.Y.

 8           2001), alleging privacy violations based on the placement of cookies on hard

 9           drives of internet users. Beginning in 2003, he served as co-Lead Counsel in the

10           successful prosecution and settlement of privacy class action cases involving the

11           protection of privacy rights of more than 200 million consumers under the

12           Driver’s Protection Privacy Act (DPPA) against the world’s largest data and

13           information brokers, including Experian, R.L. Polk, Acxiom, and Reed Elsevier

14           (which owns Lexis/Nexis). See Fresco v. Automotive Directions, Inc., No. 03-

15           61063-JEM (S.D. Fla.), and Fresco v. R.L. Polk, No. 07-cv-60695-JEM (S.D.

16           Fla.). Subsequently, He also served as co-Lead Counsel in the DPPA class

17           cases, Davis v. Bank of America, No. 05-cv-80806 (S.D. Fla.) ($10 million class

18           settlement), and Kehoe v. Fidelity Fed. Bank and Trust, No. 03-cv-80593 (S.D.

19           Fla.) ($50 million class settlement).

20                  He has been appointed and served in leadership positions a number of

21           multidistrict litigation in the area of privacy and data breaches: In re: Capital One

22           Consumer Data Sec. Breach Litig., No. 1:19-MD-2915-AJT (E.D. Va.) (court

23           approved settlement for $190,000,000); In re Yahoo! Inc. Customer Data Sec.

24           Breach Litig., No. 5:16-MD-02752-LHK (N.D. Cal.) (“Yahoo”) (Lead Counsel)

25           (court approved settlement for $117,500,000 for US and Israeli citizens); In re

26           The Home Depot, Inc. Consumer Data Sec. Data Breach Litig., No. 1:14-md-

27           02583-TWT (N.D. Ga.) (co-Lead Counsel) (court approved settlement for

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 1           $29,025,000); In Re: Equifax, Inc. Cust. Data Sec. Breach Litig., 1:17-md-2800-

 2           TWT (N.D. Ga.) (member of the Plaintiffs’ Steering Committee) (court approved

 3           settlement for $380.5 million); In re: U.S. Office of Personnel Mgmt. Data Sec.

 4           Breach Litig., 1:15-mc-01394-ABJ (D.D.C.) (“OPM”) (member of the Executive

 5           Committee) (court approved a settlement of $60 million); In re Target Corp.

 6           Customer Data Sec. Breach Litig., MDL No. 2522 (D. Minn.) (Executive

 7           Committee member) (court approved settlement on behalf of a class of

 8           approximately 100 million consumers).

 9                  His court-appointed leadership experience in non-MDL, data breach class

10           actions extends to dozens of cases which he has litigated and settled, and includes

11           one of the few contested certifications in a data breach case: Schmidt, et al., v.

12           Facebook, Inc., No. 3:18-cv-05982 (N.D. Cal.) (Co-Lead Counsel) (“Facebook”)

13           (class certified for 8 million U.S. residents, subsequently settled the class and

14           approved by the court), and a contested certification in a date privacy case,

15           Rodriguez v. Google LLC, No. 3:20-cv-04688-RS (N.D. Cal.) (certifying

16           monetary and injunctive class relief, set for trial in February 2025).

17                  His experience in these major data breach matters extends far beyond

18           simply briefing threshold issues and negotiating settlements. Rather, he has

19           personally deposed dozens of corporate representatives, software engineers,

20           cyber professionals and CISOs in major data breach cases such as Capital One,

21           Yahoo, Kimpton, and Facebook. In addition, he has defended experts used in

22           these cases and also deposed defense liability and damage experts.

23                  As result of his experience in the area of class litigation and ethics, he has

24           served as an expert for The Florida Bar on ethical issues arising in class action

25           litigation. He was also appointed by The Florida Supreme Court to enforce one

26           of its orders for indirect criminal contempt, which led to the incarceration of the

27           respondent. He is a frequent lecturer on data privacy and class litigation

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 1           nationally and internationally, including at international conferences, in Haifa,

 2           Israel, in Mexico, the United Kingdom and the Netherlands. Later this year he is

 3           speaking on data privacy at conferences in London and Lisbon.

 4                  He has served in a number of leadership positions in The Florida Bar,

 5           having been elected to two terms in The Young Lawyers Division of The Florida

 6           Bar, to two terms to The Board of Governors of The Florida Bar, and he was

 7           appointed by The Florida Supreme Court to serve a 5 year term as a Member of

 8           The Florida Board of Bar Examiners, and today he continues to serve as an

 9           emeritus member. He has been a member of numerous committees of The Florida

10           Bar, and been appointed chair of many of them. Today he serves on The Florida

11           Bar’s data privacy and cyber security committee, which we as formed last year.

12                  While at the University of Florida Mr. Yanchunis was a member of

13           Florida Blue Key and Omicron Delta Kappa. He received his Juris Doctor degree

14           from the South Texas College of Law in 1980, where he graduated magna cum

15           laude. He attended law school at night and worked full time during the day.

16           During law school, Mr. Yanchunis was a member of the Order of the Lytae,

17           Associate Editor-in-Chief and Technical Editor of the South Texas Law Journal.

18                  In this case, Mr. Yanchunis routinely participated in strategy meetings,

19           oversaw Morgan & Morgan’s involvement with legal briefing—particularly class

20           certification—as well as discovery efforts, and deposed senior Google executive

21           Loraine Twohill and a corporate representative concerning Google’s revenues in

22           this case. Mr. Yanchunis regularly attended hearings and had active argument

23           roles at class certification and the dispositive motions, sanctions, and the final

24           pretrial conference. Mr. Yanchunis was actively involved in trial preparation, co-

25           leading Morgan & Morgan’s efforts for the mock jury exercises with Mr. McGee

26           and Mr. Keith Mitnik—one of the nation’s most prominent trial attorneys with

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 1           hundreds of trials to verdict—as well as leading Morgan & Morgan’s successful

 2           involvement in mediation and settlement negotiations with Google.

 3     b.    Michael F. Ram. Mr. Ram is a consumer class action lawyer with 40 years of

 4           experience. He graduated cum laude from Harvard Law School in 1982. He has

 5           co-tried several class action trials and frequently lectures on class trials. In 1992

 6           he was a co-recipient of the Trial Lawyer of the Year Award given by Trial

 7           Lawyers for Public Justice for National Association of Radiation Survivors v.

 8           Walters No. 83-c-1861 (N.D. Cal.) (tried to class-wide judgment on remand from

 9           Supreme Court). From 1993 through 1997, Mr. Ram was a partner with Lieff,

10           Cabraser, Heimann and Bernstein where he represented plaintiffs in several

11           major class actions, including: Cox v. Shell, Civ. No 18,844 (Obion County

12           Chancery Court, Tenn.) national class of six million owners of property with

13           defective polybutylene plumbing systems; In re Louisiana-Pacific Inner-Seal

14           Litigation, No. 95-cv-879 (D. Oregon) (co-lead counsel) national class of

15           homeowners with defective siding; ABS Pipe Litigation, Cal. Judicial Council

16           Coordination Proceeding No. 3126 (Contra Costa County) national class of

17           homeowners.

18                  In 1997, Mr. Ram founded Levy, Ram & Olson which became Ram &

19           Olson and then Ram, Olson, Cereghino & Kopczynski. He was co-lead counsel

20           in many consumer class actions including a national class of half a million owners

21           of dangerous glass pane gas fireplaces in Keilholtz et al. v. Superior Fireplace

22           Company, No. 08-cv-00836 (N.D. Cal. 2008). He was co-lead counsel for

23           plaintiffs in Chamberlan v. Ford Motor Company, No. 03-cv-2628 (N.D. Cal.), a

24           class action involving defective intake manifolds that generated four published

25           opinions, including one by the Ninth Circuit, 402 F.3d at 950, and settled one

26           court day before the class trial. He was also co-counsel for plaintiffs in a number

27           of other consumer class actions, including: In re General Motors Corp. Product

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 1           Liability Lit. MDL. No. 1896 (W.D. Wash.) (defective speedometers); Richison

 2           v. American Cemwood Corp., San Joaquin Superior Court Case No. 005532

 3           defective Cemwood Shakes); Williams v. Weyerhaeuser, San Francisco Superior

 4           Court Case No. 995787 (defective hardboard siding); Naef v. Masonite, Mobile

 5           County, Alabama Circuit Court Case No. CV-94-4033 (defective hardboard

 6           siding on their homes); Hanlon v. Chrysler Corp., 150 F.3d 1011 (9th Cir. 1998)

 7           (approving class action settlement); McAdams v. Monier, Inc. (2010) 182 Cal.

 8           App. 4th 174 (reversing denial of class certification in consumer class action

 9           involving roof tiles); Gardner v. Stimson Lumber Co. (King County Wash. No. 2-

10           17633-3-SEA) (defective siding); Rosenberg v. U-Haul (Santa Cruz Superior Ct.

11           No. CV-144045 (certified consumer class action for false and deceptive conduct;

12           tried successfully to judgment); In re Google Buzz User Privacy Litigation, No.

13           10-cv-00672-JW (N.D. Cal. 2011) (international class action settlement for false

14           and deceptive conduct); Whitaker v. Health Net of California, Inc., and

15           International Business Machines Corp, No. 2:11-cv-0910 KJM DAD (E.D. Cal.)

16           (electronic privacy class action under the California Confidentiality of Medical

17           Information Act); and In re Kitec Plumbing System Products Liab. Litigation

18           MDL No 2098, N.D. Texas, No. 09-MD-2098 (MDL class action involving claims

19           concerning defective plumbing systems).

20                  From 2017 to 2020, Mr. Ram was a partner at Robins Kaplan LLP. In

21           August, 2020, Mr. Ram joined Morgan & Morgan to open a San Francisco office

22           for them. He is currently co-lead counsel in numerous consumer class actions,

23           including Gold v. Lumber Liquidators, N.D. Cal. No. 14-cv-05373-RS, a certified

24           multistate class action involving bamboo floors, and Fowler v. Wells Fargo, N.D.

25           Cal. No. 3:17-cv-02092-HSG, a class action involving interest charges that settled

26           for $30 million. He is currently serving on the Plaintiffs’ Steering Committee In

27           re Philips Recalled CPAP, Bi-Level Pap, And Mechanical Ventilator Products

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 1            Litigation, MDL No. 3014, where he is co-chair of the Law and Briefing

 2            Committee. In addition, Mr. Ram is also currently serving on the Plaintiffs’ Expert

 3            Discovery Committee In re Kia Hyundai Vehicle Theft Marketing, Sales

 4            Practices, and Products Liability Litigation, MDL No. 3052.

 5                    In this case, Mr. Ram oversaw the class certification briefing and legal

 6            research regularly participated in strategy meetings, supported Morgan &

 7            Morgan’s involvement with legal briefing and discovery efforts. Mr. Ram was

 8            closely involved with preparing for dispositive motions and discovery hearings,

 9            and crucially supported the class certification briefing in this case. Mr. Ram also

10            routinely engaged with other members of the litigation team to provide insight on

11            strategic decisions for discovery, dispositive motions, sanctions, class

12            certification, and summary judgment. Mr. Ram closely worked with Plaintiffs’

13            expert Mr. Keegan to support litigation efforts. Mr. Ram also supported the mock

14            jury exercises to assist with trial preparation.

15      c.    Jean Sutton Martin is one of the lead attorneys in the Class Action Department

16            of Morgan & Morgan, devoting her practice to data privacy, consumer protection,

17            and defective products class actions. In addition to consumer class actions, Ms.

18            Martin has practiced in the areas of mass tort and catastrophic personal injury,

19            starting mass torts practice groups at two plaintiffs’ firms. Prior to joining Morgan

20            and Morgan, Ms. Martin ran her own law firm in North Carolina concentrating on

21            consumer class actions and mass tort litigation.

22                    Ms. Martin received her Juris Doctor degree from Wake Forest University

23            School of Law, where she served as Editor-in-Chief of the Wake Forest Law

24            Review. Ms. Martin graduated from Wake Forest University with a Bachelor of

25            Science in Mathematical Economics and earned a Master of International

26            Business from the University of South Carolina. She also has served as an adjunct

27            professor at her alma mater, Wake Forest University School of Law. She obtained

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 1           eDiscovery certification from the eDiscovery Training Academy at Georgetown

 2           Law Center in 2017.

 3                  Ms. Martin has been honored with the prestigious “AV” rating by

 4           Martindale-Hubbell. In 2016, Ms. Martin was selected by her peers as the

 5           foremost Litigation attorney in the State of North Carolina for Business North

 6           Carolina Magazine’s Legal Elite, gaining membership in the Legal Elite Hall of

 7           Fame. In 2022, she was recognized by Law360 as an MVP in the area of

 8           cybersecurity and data privacy. She was named as one of National Law Journal’s

 9           Class Action/ Mass Tort Litigation Trailblazers of 2023.

10                  Ms. Martin concentrates her practice on complex litigation, including

11           consumer protection, data privacy, and defective products class action. Ms.

12           Martin concentrates her practice on complex litigation, including consumer

13           protection, data privacy, and defective products class action. She presently serves

14           by appointment as interim co-lead counsel in In re HCA Healthcare Data Security

15           Litigation, No. 3:23-cv-00684 (M.D. Tenn.); Combs, et al. v. Warner Music

16           Group, Case No. 1:20-cv-07473-PGG (S.D.N.Y.); and Johnson, et al. v. Yuma

17           Regional Medical Center, 2:22-cv-01061-SMB (D. Ariz.). She also serves as a

18           member of the Plaintiffs’ Steering Committee for the cases proceeding against

19           LabCorp, Inc. in In re: American Medical Collection Agency Data Breach

20           Litigation, No. 19-md-2904 (D. N.J.) and a steering committee member In re:

21           Allergan Biocell Textured Breast Implant Products Liability Litigation, No. 19-

22           md-2921 (D. N.J).

23                  In a case in which she serves as interim co-lead counsel, Ms.

24           Martin argued the motion for class certification which resulted in the first order

25           in the country granting Rule 23(b)(3) certification in a consumer payment card

26           data breach. She also argued the appeal of that decision. The Eleventh Circuit

27           found standing for Ms. Martin’s client and embraced the presented damages

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 1           model, remanding the case for further predominance inquiry given the District

 2           Court’s modification of the class definition. In re Brinker Data Incident Litig.,

 3           No. 3:18-cv-686-TJC-MCR, 2021 WL 1405508 (M.D. Fla. Apr. 14, 2021)

 4           vacated in part sub nom. Green-Cooper v. Brinker Int’l., Inc., 73 F.4th 883 (11th

 5           Cir. 2023).

 6                  She has served in leadership positions in many consumer class actions and

 7           consolidated proceedings in federal courts around the country, including inter

 8           alia: In Re: Ambry Genetics Data Breach Litig., Case No. 8:20-cv-00791-CJC

 9           (C.D. Cal.) (settlement valued in excess of $20 million for a class of

10           approximately 230,000 patients); Desue, et al. v. 20/20 Eye Care Network, Inc. et

11           al., 21-cv-61275 (S.D. Fla.) (Chair of the Plaintiffs’ Executive Committee)

12           (settlement on behalf of more than 4 million class members, including minors); In

13           re Morgan Stanley Data Sec. Litig., 1:20-cv-05914 (S.D.N.Y.) ($68 million

14           settlement for 15 million class members); Aguallo, et al. v. Kemper Corp., et

15           al., Case No.: 1:21-cv-01883 (N.D. Ill.) (data breach settlement valued at over

16           $17.5 million) (co-lead counsel); Gordon, et al. v. Chipotle Mexican Grill, Inc.,

17           No. 17-cv-01415 (D. Colo.) (data breach) (co-lead counsel); Linnins v. HAECO

18           Americas, Inc., et al., No. 16-cv-486 (M.D.N.C.) (employee data disclosure) (co-

19           lead counsel); Torres v. Wendy’s International, LLC, No. 6:16- cv-210 (M.D.

20           Fla.) (data breach) (class counsel); Fuentes, et al. v. UniRush, LLC, et al., No.

21           1:15- cv-08372 (S.D.N.Y.) (disruption in servicing of financial accounts) (co-lead

22           counsel); Lewis, et al., v. Green Dot Corp., et al., No. 2:16-cv-03557 (C.D. Cal.)

23           (disruption in servicing of financial accounts) (class counsel); Brady, et al. v. Due

24           North Holdings, LLC, et al., No. 1:17-cv-01313 (S.D. Ind.) (employee data

25           disclosure) (class counsel); Foreman v. Solera Holdings, Inc., No. 6:17-cv-02002

26           (M.D. Fla.) (employee data disclosure) (class counsel); In Re: Outer Banks Power

27           Outage Litig., No. 4:17-cv-141 (E.D.N.C.) (extended island power outage due to

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 1           defective construction practices) (class counsel); McCoy v. North State Aviation,

 2           LLC, et al., No. 17- cv-346 (M.D.N.C.) (WARN Act violations) (class counsel).

 3                  Ms. Martin has been a presenter on a variety of topics related to class

 4           actions including: Fantasy Gaming Webinar: FanDuel and DraftKings Litigation,

 5           AAJ (December 2015); Thinking Outside the Black Box: Drug Cases in the Class

 6           Context, Mass Torts Made Perfect (October 2019); Mass Torts and MDLs,

 7           Western Alliance Class Action Forum (March 2020); Consumer Class Actions,

 8           Western Alliance Class Action Forum (March 2022); How to Maximize Efficiency

 9           in Document Production and Review, Mass Torts Made Perfect (April 2022);

10           Class Action Takeover: The Rise of Class Actions within MDLs, HarrisMartin

11           (July 2023).

12                  Beyond her legal work, Ms. Martin organized the first Class of Our Own

13           women’s summit which was held in Nashville, Tennessee in May 2023. The

14           invitation-only summit for female class action attorneys featured two days of legal

15           panels while also promoting female empowerment. More than 100 women from

16           multiple disciplines from across the country attended the event. Plans are

17           underway for 2024 with the goal to make this summit an annual event.

18                  Before entering law school, Ms. Martin worked with the sales finance

19           team of Digital Equipment Company in Munich, Germany developing sales

20           forecasts and pricing models for the company’s expansion into the Eastern

21           European market after the fall of the Berlin wall. She also worked as a practice

22           management consultant for a physician consulting group and as a marketing

23           manager for an international candy manufacturer where her responsibilities

24           included product development, brand licensing, market research, and sales

25           analysis.

26                  Ms. Martin is a member of the North Carolina Bar, having been admitted

27           in 1998. She is also admitted to practice before the United States Supreme Court,

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 1            the United States Court of Federal Claims, the United States Court of Appeals for

 2            the Fourth Circuit, the Western, Middle, and Eastern Districts of North Carolina,

 3            and the United States District Court of Colorado.

 4                   In this case, Ms. Martin chiefly oversaw Morgan & Morgan’s efforts with

 5            respect to ESI, custodians, document productions, and review. Ms. Martin

 6            regularly communicated with Morgan & Morgan’s in-house document reviewers

 7            and other professionals who manage those processes to identify potential issues

 8            and address them to resolution. Ms. Martin also routinely engaged with other

 9            members of the litigation team to provide insight on strategic decisions for

10            discovery, dispositive motions, sanctions, class certification, and summary

11            judgment. Ms. Martin defended the Daubert challenges to Plaintiffs’ expert Mr.

12            Schneier and assisted with preparations for myriad discovery and motions

13            hearings. Ms. Martin also supported the mock jury exercises to assist with trial

14            preparation.

15      d.    Ryan J. McGee. Mr. McGee joined Morgan & Morgan’s Complex Litigation

16            Group in March 2018, and has since extensively practiced in the areas of privacy

17            and consumer protection class action litigation. His work since 2018 resulted in

18            Law360 recognizing him as one of only three Rising Stars in the area of

19            cybersecurity and privacy for 2023. He has substantially supported the following

20            representative litigations resulting in the recovery of more than half a billion

21            dollars for consumers: In re: Capital One Consumer Data Sec. Breach Litig., No.

22            1:19-MD-2915-AJT (E.D. Va.); In re Morgan Stanley Data Sec. Litig., No. 20-

23            cv-5914-AT (S.D.N.Y.); Adkins v. Facebook, Inc., No. 3:18-cv-05982-WHA

24            (N.D. Cal.); In Re: Ambry Genetics Data Breach Litig., No. 20-cv-00791 (C.D.

25            Cal.); Pfeiffer et al. v. RadNet, Inc., No. 2:20-cv-09553-RGK (C.D. Cal.); Ford et

26            al. v. [24]7.ai, Inc., No. 5:18-cv-02770-BLF (N.D. Cal.); In re Yahoo! Inc. Cust.

27            Data Sec. Breach Litig., No. 16-md-02752-LHK (N.D. Cal.); In re Equifax, Inc.

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 1           Cust. Data Sec. Breach Litig., No. 1:17-md-02800 (N.D. Ga.); In re: U.S. Office

 2           of Personnel Mgmt. Data Sec. Breach Litig., 1:15-mc-01394-ABJ (D.D.C.);

 3           Henderson v. Kalispell Regional Healthcare, No. CDV-19-0761 (Montana Eighth

 4           Judicial Court – Cascade County); Morrow v. Quest, No. 2:17-cv-0948 (CCC)

 5           (JBC) (D.N.J.); In re Google Plus Profile Litig., No. 5:18-cv-06164 EJD (N.D.

 6           Cal.); Stoll et al. v. Musculoskeletal Institute, Chartered d/b/a Florida

 7           Orthopaedic Institute, No. 8:20-cv-01798-CEH (M.D. Fla.); and Kuss v.

 8           American HomePatient, Inc., et al., No. 8:18-cv-02348 (M.D. Fla.).

 9                  His experience in privacy litigation extends well beyond drafting

10           pleadings, briefing legal disputes, and negotiating settlements. He has personally

11           deposed dozens of corporate representatives, software engineers, and cyber

12           professionals in major privacy cases not only in this case, but others such as

13           Rodriguez v. Google, Capital One, and Facebook. He has also deposed defense

14           liability and damages experts in these (and other) cases, and defended experts in

15           those fields at deposition and in Daubert hearings. Mr. McGee cross-examined

16           two (of four) technical witnesses during the hearing that resulted in the successful

17           pursuit of multiple sanctions against Google.

18                  Mr. McGee studied business economics and history at the University of

19           Florida, where he was a teaching assistant for technology classes in the business

20           school, and received his law degree from Stetson University College of Law,

21           where he was an editor on the Stetson Law Review, a research assistant for

22           antitrust and consumer protection laws, and a teaching assistant for Stetson’s trial

23           advocacy program. He began his legal career as a state-appointed prosecutor,

24           where he tried over 50 jury trials to verdict, mostly felonies, as well as a special

25           prosecutor appointed to investigate police officers’ deadly use-of-force and

26           corruption within various law enforcement agencies. Mr. McGee also served as a

27           law clerk for two years for the Honorable Elizabeth A. Kovachevich, the former

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 1           Chief United States District Judge, Middle District of Florida. Before joining

 2           Morgan & Morgan, Mr. McGee’s practice involved complex business disputes,

 3           antitrust, trade secret, data security, and class action investigations and defense-

 4           side litigation in state and federal courts across the country.

 5                  Mr. McGee was admitted to the Florida Bar in 2009 and is also admitted

 6           to practice in the Northern, Middle, and Southern Districts of Florida; the District

 7           of Colorado; and the Ninth Circuit Court of Appeals.

 8                  In this case, Mr. McGee oversaw Morgan & Morgan’s day-to-day

 9           involvement, working with Mr. Yanchunis, Mr. Ram, and Ms. Martin to provide

10           input on strategies and implement Morgan & Morgan’s vast experience in class

11           action and privacy litigation to the factual and legal theories at issue in this case.

12           Mr. McGee led Morgan & Morgan’s efforts with the Special Master process,

13           assisting Mr. Mao and working closely with the technical experts to secure

14           evidence in further support of this litigation. Mr. McGee also served as Morgan

15           & Morgan’s primary contact for all of the named Plaintiffs, addressing discovery

16           requests and assisting Mr. Lee with preparation for their depositions, and

17           defending Plaintiff Castillo’s deposition. Mr. McGee deposed a number of Google

18           employees, including Greg Fair, Sammit Adhya, George Levitte, corporate

19           representatives designated on financial and technical subjects, and assisted with

20           many other depositions in this case, including experts. Mr. McGee also handled

21           arguments and witness examinations at hearings for discovery disputes, sanctions,

22           dispositive motions, and the final pretrial conference. Mr. McGee was actively

23           involved in trial preparation, co-leading Morgan & Morgan’s efforts for the mock

24           jury exercises with Mr. Yanchunis and Mr. Keith Mitnik—one of the nation’s

25           most prominent trial attorneys with hundreds of trials to verdict—as well as

26           leading Plaintiffs’ efforts with evidence Special Master Laporte, actively

27           participating in mediation and the resolution of this case.

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 1      e.    Marie Noel Appel. Ms. Appel has dedicated her career to representing consumers,

 2            primarily in class action cases, involving claims under consumer protection laws

 3            and other statutory and common law claims. For the first fifteen years of her

 4            career, Ms. Appel litigated class claims on behalf of consumers, including actively

 5            participating in the following cases: Lussier v. The Lucas Dealership Group, No.

 6            CGC-95-391224 (San Mateo Super. Ct.) (unfair business practices suit for

 7            automobile repair overcharges resulting in confidential settlement after three

 8            weeks of trial in 1998); Pang v. Jani King of Calif., Inc., No. CGC-98-396258

 9            (San Mateo Super. Ct.) (class action unfair business practice suit alleging

10            improper franchise practices settled in 1999 on appeal); Capers v. Pac. Bell

11            Internet Serv., No. CGC-01-318733 (San Francisco Sup. Ct.) (unfair business

12            practice suit for improper DSL billing practices resulting in refunds of more than

13            $1.6 million to 20,000 class members and distribution of more than $40,000 to

14            charitable organizations in 2004); Clark v. Santa Barbara Bank & Trust, No.

15            CGC-04-427959 (San Francisco Super. Ct.) (unfair business practices for

16            improper debt collection practices resulting in refunds of more than $2 million

17            and distribution of more than $200,000 in cy pres relief in 2007); Dubray v. City

18            of Dublin, No. 2002057128 (Alameda County Super. Ct.) (class action against the

19            City of Dublin for illegal governmental cost collection practices); Donovan v.

20            RRL Corp., 26 Cal. 4th 261 (2001) (one of amicus counsel for National

21            Association of Consumer Advocates regarding whether automobile price

22            advertisement was a contract offer); Buick v. World Sav. Bank, No 2:07-CV-

23            01447 (E.D. Cal.) (individual Truth in Lending action regarding home equity loan

24            which settled in 2011); and Briggs v United States, No. CV-07-5760 WHA (N.D.

25            Cal.) (statutory violations resulting in $7.4 million settlement in 2009 on behalf

26            of a nationwide class of veterans whose tax refunds and benefits the government

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 1           withheld to recover time-barred debts to the Army & Air Force Exchange

 2           Service).

 3                  From 2012 to 2019, Ms. Appel left private practice to become the

 4           Supervising Attorney of the Consumer Project and the Medical-Legal Project at

 5           the Justice & Diversity Center of the Bar Association of San Francisco which

 6           provides free legal services to low-income persons. In that position, Ms. Appel

 7           trained and supervised volunteer attorneys assisting clients facing debt collection

 8           lawsuits, and provided a range of direct legal services to clients, primarily patients

 9           at low-income medical clinics, as well as collaborating with, and training, medical

10           interns, residents, nurses, and staff regarding legal issues impacting patient health

11           outcomes. Ms. Appel also presented on topics relating to providing pro bono

12           services to consumers, including, Disaster-Related Consumer Issues Including

13           Consumer Protection Laws and Debtors’ Rights and Responsibilities, Providing

14           Legal Assistance in Aftermath of Disaster, Practising Law Institute (September

15           2015); Successful Pro Bono Based Projects to Assist Self-Represented Litigants:

16           Partnering with Bar Associations, Small & Solo Practitioners, New Attorneys,

17           Law Schools, and Courts, Self-Represented Litigation Network Conference

18           (February 2017); Successful Pro-Bono Based Projects to Assist Self-Represented

19           Litigants, Self-Represented Litigation Network Conference (February 2018), and

20           Helping Clients Facing Collection Actions For Covid-19 Rental Debt, Tenants

21           Together, Tenant Lawyer Network (January 2022).

22                  In April 2019, Ms. Appel returned to private practice as Counsel at Robins

23           Kaplan, LLP, then joined Morgan & Morgan in August 2020 where she again

24           focuses on class action consumer litigation including the following litigations:

25           Gold v. Lumber Liquidators, No. 14-cv-05373-RS (N.D. Cal.) (settlement

26           approval and distribution of a certified multistate class action involving bamboo

27           floors); In Re: Philips Recalled CPAP, Bi-Level PAP, and Mechanical Ventilator

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 1           Prod. Litig., MDL No. 3014 (Medical Monitoring Working Group); and Weston

 2           v. Subaru of America, Inc., No. 1:20-cv-05876-CPO-SAK (D.N.J.) (informal

 3           Plaintiffs’ Steering Committee).

 4                  In additional to her legal practice, Ms. Appel also has served as an Adjunct

 5           Professor at Golden Gate University School of Law in San Francisco where she

 6           has taught legal research and writing, and taught and supervised students at the

 7           Consumer Rights Clinic, in which students performed legal work at the Justice &

 8           Diversity Center’s Consumer Debt Defense and Education Clinics.

 9                  Ms. Appel has a long history of pro bono involvement and currently is a

10           regular volunteer at the Community Legal Assistance Saturday Program, a

11           monthly free legal clinic sponsored by the Alameda County Bar Association.

12           From 1997 to 2012, Ms. Appel provided pro bono representation for numerous

13           low-income consumers facing debt collection lawsuits, and volunteered regularly

14           at free legal clinics through the Justice & Diversity Center in San Francisco which,

15           on multiple years, designated her as one of the Outstanding Volunteers in Public

16           Service.

17                  Ms. Appel earned a B.A. in French from San Francisco State University

18           in 1992, and a Juris Doctor from University of San Francisco School of Law in

19           1996 where she was an Associate Literary Editor of the USF Maritime Law

20           Journal. Ms. Appel is admitted to the State Bar of California and to United States

21           District Courts in the Central District of California, the Eastern District of

22           California, the Northern District of California, the Southern District of California,

23           the Northern District of Illinois, the Western District of Michigan, and the Ninth

24           Circuit Court of Appeals.

25                  In this case, Ms. Appel assisted with researching legal issues for

26           dispositive motions and defense of experts, and was actively involved in crafting

27           strategy and preparing drafts for the motion for class certification. Ms. Appel also

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 1            oversaw efforts to obtain non-party discovery, including identifying potential

 2            targets and overseeing these non-party requests.

 3      f.    Kenya Reddy. Ms. Reddy represents consumers in class action litigation. She

 4            graduated from Duke University in 1997 with a degree in political science. In

 5            2000, she received her law degree from the University of Virginia School of Law.

 6            Prior to joining Morgan & Morgan, Ms. Reddy was a shareholder at Carlton

 7            Fields, P.A., where her primary areas of practice were antitrust, complex civil

 8            litigation, class action defense, and business litigation. She also has experience in

 9            including labor and employment, products litigation, ERISA and employee

10            benefits law, insurance, healthcare, and securities litigation.

11                   Ms. Reddy has served as a law clerk for the Honorable Charles R. Wilson,

12            United States Circuit Court Judge, Court of Appeals for the Eleventh Circuit, the

13            Honorable Anne C. Conway, former Chief Judge of the United States District

14            Court for the Middle District of Florida, the Honorable Mary S. Scriven, United

15            States District Judge, Middle District of Florida, and the Honorable Karla R.

16            Spaulding, United States Magistrate Judge, Middle District of Florida.

17                   Ms. Reddy was a guest speaker in January 2019 at HarrisMartin’s Marriott

18            Data Breach Litigation Conference on the topic of standing in data breach cases.

19            In October 2019, she presented on the topic of third-party litigation funding at the

20            Mass Torts Made Perfect Conference. Ms. Reddy is admitted to practice in the

21            Northern, Middle, and Southern Districts of Florida.

22                   In this case, Ms. Reddy assisted with researching legal issues for

23            dispositive motions briefing and discovery disputes.

24      g.    Patrick Barthle. Mr. Barthle is the second-longest tenured attorney in the Class

25            Action Department of Morgan & Morgan. He was born and raised in Dade City,

26            Florida. He attended the University of Florida where he was admitted to the

27            Honors Program and graduated, cum laude, with a double major in History and

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 1           Criminology in 2009. While at UF, Mr. Barthle was inducted into the Phi Beta

 2           Kappa Honor Society and served as President of the Catholic Student Center. He

 3           attended Washington and Lee University School of Law, graduating summa cum

 4           laude in 2012; where he was a Lead Articles Editor for the Wash. & Lee Law

 5           Review, a member of the Order of the Coif and the Phi Delta Phi Legal Honor

 6           Society, and President of the W&L Law Families organization.

 7                  Before joining Morgan & Morgan in 2015, Mr. Barthle worked at one of

 8           the country’s largest law firms, Greenberg Traurig, LLP, and then served as a

 9           judicial law clerk for two years to the Honorable Mary S. Scriven, United States

10           District Judge, Middle District of Florida. He has extensive privacy and consumer

11           fraud class action experiencing, having actively participated in the following

12           litigations: In re: Capital One Consumer Data Security Breach Litigation, No.

13           1:19-MD-2915-AJT (E.D. Va.); In re: U.S. Office of Personnel Management Data

14           Security Breach Litigation, 1:15-mc-01394-ABJ (D.C.); Torres v. Wendy’s

15           International, LLC, No. 6:16-cv-210 (M.D. Fla.); In Re: Equifax, Inc. Customer

16           Data Security Breach Litigation, 1:17-md-2800-TWT (N.D. Ga.); In re The Home

17           Depot, Inc. Customer Data Security Data Breach Litigation, No. 1:14-md-02583-

18           TWT (N.D. Ga.); In re Yahoo! Inc. Customer Data Sec. Breach Litig., 16-md-

19           02752-LHK (N.D. Cal.); and Finerman v. Marriott Ownership Resorts, Inc., Case

20           No.: 3:14-cv-1154-J-32MCR (M.D. Fla.).

21                  Mr. Barthle has deep substantive experience in data breach cases. He has

22           deposed multiple C-suite-level executives, prepared and examined expert

23           witnesses, as well as briefed and argued motions for class certification and

24           summary judgment in any number of data breach cases. For example, in In re:

25           Yahoo! Inc. Customer Data Security Breach Litigation, Case No. 16-md-2752,

26           (N.D. Cal.), a data breach class action involving approximately 3 billion Yahoo

27           user accounts, he was deeply involved in discovery, including with the depositions

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 1           of multiple Chief Information Security Officers (“CISO”) and other cybersecurity

 2           related witness, including the Chief Information Officer (“CIO”); as well as

 3           assisting with the reports, and defending the depositions, of Plaintiffs’

 4           cybersecurity and identity theft experts. Likewise, in the In re Capital One

 5           Customer Data Security Breach Litigation, Case No.: 1:19-md-2915 (E.D. Va.)

 6           case, Mr. Barthle was heavily involved in all aspects of discovery including

 7           drafting and arguing myriad motions to compel and the taking of various

 8           depositions, including multiple corporate representative witnesses for both

 9           Capital One and Amazon Web Services, as well as arguing and briefing summary

10           judgment and class certification.

11                  Mr. Barthle has been appointed as Co-Lead Counsel in multiple pending

12           data breach class actions, including Hernandez et al. v. Advance America, Cash

13           Advance Centers, Inc. et al, Case No. 7:23-cv-4256 (D. S.C.), and In re Great

14           Expressions Data Security Incident Litig., Case No. 2:23-cv-11185 (E.D. Mich.).

15                  Apart from data privacy cases, he has been appointed as Class Counsel in

16           other consumer class action cases, including in Swaney v. Regions, No. 2:13-cv-

17           00544-JHE (N.D. Ala.) (TCPA class action, Final Approval entered), Peterson v.

18           Apria Healthcare Group, Inc., No. 6:19-cv-00856 (M.D. Fla.) (TCPA class

19           action, Final Approval entered), and Guidry v. Penn Credit, Case No.: 6:19-cv-

20           1936-Orl41LRH (M.D. Fla.) (TCPA class action, Final Approval entered); and in

21           Richards et al. v. Chime Fin., Inc., et al., No. 4:19-cv-06864 (N.D. Cal.), a case

22           involving a payment disruption for certain payment card users.

23                  Mr. Barthle is also no stranger to contested class certifications, having

24           certified nationwide and multi-state classes in cases such as Still v. Selene

25           Finance, LP, Case No. CJ-2013-51 (Okla. Dist. Ct, Nowata County) (multi-state

26           certified class action concerning property inspections fees related to HUD-backed

27           mortgages); and Nolen et al. v. Fairshare Vacation Owners Association, Case No.

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 1            6:20-cv-330-PGB-EJK (M.D. Fla.) (nationwide class certified concerning alleged

 2            breaches of fiduciary duties involving a Wyndham timeshare program).

 3                   Mr. Barthle was selected as a Florida Super Lawyer Rising Star in 2019,

 4            2020, and 2021 in the field of Class Actions. He is also active in speaking on

 5            privacy and class action topics, having spoken in June 2018, October 2022, and

 6            March 2023 at the NetDiligence Cyber Risk Summit on various privacy related

 7            topics; in November 2018 at the American Association for Justice’s Advanced

 8            30(b)(6) Seminar, on the topic of 30(b)(6) Depositions in in Data Breach Cases;

 9            in January 2019 at HarrisMartin’s Marriott Data Breach Litigation Conference on

10            the topic of damage models and settlements in data breach cases; and in October

11            2019 at the Mass Torts Made Perfect conference on Rule 23(c)(4) classes.

12                   Mr. Barthle was admitted to the Florida Bar in 2012 and is also admitted

13            to practice in the Middle District of Florida, the Southern District of Florida, the

14            District of Colorado, the Northern District of Illinois, the Eastern District of

15            Michigan, the Northern District of Oklahoma, the Southern District of Texas, and

16            the Eleventh Circuit Court of Appeals.

17                   In this case, Mr. Barthle assisted with researching legal issues for

18            dispositive motions briefing and discovery, and also assisted with strategy and

19            preparations for expert depositions.

20      h.    Francesca Kester Burne. Ms. Burne was born and raised in Scranton,

21            Pennsylvania. She attended The Pennsylvania State University’s Dickinson

22            School of Law, where she received her Juris Doctor degree in 2017. While at

23            Dickinson, Ms. Burne competed in the American Bar Association’s National

24            Appellate Advocacy Competition, where she was awarded the highest honor for

25            her legal brief writing, and the Texas Young Lawyer’s National Trial

26            Competition, where she finished as a regional finalist. Ms. Burne also served as

27            Executive Chair of the Dickinson Law Moot Court Board, Founder of the

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 1            Dickinson Law partnership with Big Brothers Big Sisters, and Student Director

 2            of the Bethesda Mission Men’s Shelter legal clinic.

 3                    Ms. Burne completed an externship with United States Magistrate Judge

 4            Martin C. Carlson while in law school. After graduation, she served for two years

 5            as a law clerk to the Honorable James M. Munley in the United States District

 6            Court for the Middle District of Pennsylvania. Ms. Burne now focuses her class

 7            action practice on complex litigation, including consumer protection, data

 8            privacy, and defective products class actions.

 9                    She has been honored with the D. Arthur Magaziner Human Services

10            Award for outstanding academic achievement and service to others and the

11            Pennsylvania Bar Association’s Joseph T. McDonald Memorial Award for

12            excellence in trial advocacy. Ms. Burne is admitted to practice law in both

13            Pennsylvania and Florida as well as various federal courts throughout the country,

14            to include the Southern District of Florida.

15                    In this case, Ms. Burne assisted with legal research related to Plaintiffs’

16            sanctions efforts and also challenging Google’s belated disclosures of experts.

17      i.    Shelby Serig. Ms. Serig is a seasoned, detail-oriented litigator and legal counselor

18            with over 20 years of professional experience in the development, negotiation and

19            resolution of complex matters, including national class actions and multi-district

20            litigation.

21                    Ms. Serig graduated with honors from West Virginia University with a

22            B.S. in Journalism in 1999. In 2003, she received her law degree from the

23            University of Pittsburgh School of Law, where she received the CALI Excellence

24            for the Future Award and was awarded First Place in the American Bar

25            Association’s Client Counseling Competition for the Mid-Atlantic Region.

26            During law school, Ms. Serig also completed internships with The Honorable

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 1            Donetta Ambrose (U.S. District Court for the Western District of Pennsylvania)

 2            and The Honorable John Zottola (Pennsylvania Court of Common Pleas).

 3                   Ms. Serig began her legal career at Florida’s largest civil defense firm,

 4            where she was eventually made a partner. There, she provided litigation defense

 5            to a wide array of clients in multiple areas of the law including employment,

 6            appellate and commercial litigation. Prior to joining Morgan & Morgan, Ms. Serig

 7            also practiced with an international law firm, focusing on employment law. Her

 8            deep legal experience includes claims investigation, drafting pleadings, briefing

 9            legal disputes, advocacy before trial and appellate courts and settlement

10            negotiation. She is also experienced in all aspects of discovery and has completed

11            300+ depositions of lay and expert witnesses.

12                   Ms. Serig has been a member of the Florida Bar since 2004. She is also

13            admitted to practice in the U.S. District Court for the Middle District of Florida,

14            U.S. District Court for the Northern District of Florida, the U.S. District Court for

15            the Northern District of Illinois and the U.S. Court of Appeals for the Sixth

16            Circuit. Ms. Serig is committed to applying her legal skills outside of the office

17            and courtroom. She serves with Florida’s Guardian ad Litem Program, advocating

18            for abused, abandoned and neglected children. She also volunteers as a Judge in

19            Clay County, Florida’s Teen Court program, a nationally-recognized diversion

20            program for juvenile offenders.

21                   In this case, Ms. Serig assisted with various legal research projects, and

22            was actively involved in crafting strategy and preparing drafts for dispositive

23            motions and class certification.

24      j.    Christopher Pollack. Chris Pollack was born and raised in Florida. Mr. Pollack

25            studied finance at the University of Central Florida, and then earned his law

26            degree from the University of Michigan Law School. While in law school, Mr.

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 1            Pollack worked on the Civil Rights Litigation Clearinghouse, and he earned

 2            Certificates of Merit in both Evidence and Jurisdiction & Choice of Law.

 3                   Upon graduating, Mr. Pollack spent the first several years of his career as

 4            a judicial clerk, first spending 20 months with the Honorable Jeffrey J. Helmick

 5            in the U.S. District Court for the Northern District of Ohio, and then a year with

 6            the Honorable Robin S. Rosenbaum in the U.S. Court of Appeals for the Eleventh

 7            Circuit. Prior to joining Morgan & Morgan's Complex Litigation Group, Mr.

 8            Pollack worked for law firms in D.C. and Michigan, representing businesses

 9            across the country and gaining experience that he now uses to advocate for

10            consumers in class action litigation. Mr. Pollack is admitted to practice in Illinois,

11            D.C., and Michigan.

12                   Since joining Morgan & Morgan in 2024, Mr. Pollack has assisted with

13            legal research in support of Plaintiffs’ seeking approval of the settlement and also

14            matters involving the disputed fees in this case.

15      k.    Marcio Valladares. Mr. Valladares was born in Managua, Nicaragua and

16            immigrated to the United States during Nicaragua’s civil war. In 1990, Marcio

17            obtained a Bachelor of Science degree in psychology from the University of

18            Florida. In 1993, he obtained his Juris Doctor degree, magna cum laude, from

19            Florida State University. He is pursuing a Masters in Law (LL.M.) degree from

20            Columbia University, focusing on federal and comparative law.

21                   Mr. Valladares recently left Morgan & Morgan to rejoin the Department

22            of Justice. Before joining Morgan & Morgan, Marcio worked in both the public

23            and private sectors. He served as a judicial law clerk to the Honorable Steven D.

24            Merryday, United States District Judge, Middle District of Florida, and then

25            served as a judicial law clerk to the Honorable Susan H. Black, United States

26            Circuit Court Judge, Court of Appeals for the Eleventh Circuit. Marcio served as

27            an Assistant United States Attorney for the Middle District of Florida. In the

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 1            private sector, Marcio practiced commercial litigation and insurance defense at

 2            Holland & Knight LLP. Marcio also worked as in-house counsel for the Mayo

 3            Clinic. Marcio is fluent in English and Spanish.

 4                   In this case, Mr. Valladares assisted with legal research related to the

 5            availability of causes of action and damages, as well as supporting Plaintiffs’

 6            sanctions efforts and also challenging Google’s belated disclosures of experts.

 7      l.    Ra O. Amen. Mr. Amen was raised in both the California Bay Area and

 8            Massachusetts. In 2005, Ra graduated from Stanford University with a B.A. in

 9            Economics. After graduating, Ra worked as a Peace Corps volunteer in Morocco

10            teaching English as a second language and business skills to local artisans. Before

11            entering law school, Ra worked for several years in education and in business

12            development for a mobile technology startup. In 2017, he obtained his Juris

13            Doctor degree with Honors from Emory University School of Law. While at

14            Emory Law, he was a Managing Editor of the Bankruptcy Developments Journal,

15            interned at a consumer fraud law practice, and worked in-house with one of the

16            globe’s leading metals companies assisting in a diverse array of legal issues

17            ranging from corporate restructuring to international tax and contract disputes.

18                   Before joining Morgan & Morgan in 2020, Mr. Amen worked at one of

19            the nation’s largest defense law firms in the nation where he specialized in

20            representing clients in complex commercial, administrative, and ecclesiastical

21            disputes. Ra speaks both English and Spanish, and is an avid guitar player. Ra was

22            admitted to the Georgia Bar in 2017.

23                   In this case, Mr. Amen assisted with various legal research projects,

24            including briefing on dispositive motions and class certification. Mr. Amen also

25            supported efforts to identify potential custodians and coordinating document

26            review efforts helping with hearing and deposition preparations.

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 1      m.    Hope Whalen. Ms. Whalen attended Vanderbilt University where she obtained a

 2            bachelor’s degree in political science and government, and art history. While at

 3            Vanderbilt for undergraduate school, Ms. Whaled was a member of Delta Delta

 4            Delta, Paso a Paso, and Nourish International. She also participated in a study

 5            abroad program for CET Academics in Florence, Italy. Ms. Whalen later attended

 6            Vanderbilt University School of Law where she obtained her juris doctorate and

 7            involved in PDP Legal Honor Society, Moot Court, Voting Rights & Advocacy

 8            Society, Founder & Co-President, Legal Aid Society, Secretary, Art Law

 9            Association, Vice-President, Energy and Environmental Law Society, Women

10            Law Students’ Association, Vanderbilt in Venice. Ms. Whalen is member of the

11            Tennessee Bar Association since 2022.

12                     In this case, Ms. Whalen assisted with legal research projects.

13      n.    Christina Romero. Ms. Romero is a 2019 graduate of the University of New

14            Mexico School of Law. While in law school, she externed at the Sixth District

15            Court of Appeal for the State of California and clerked at Bay Area Legal Aid and

16            various private firms in New Mexico. She is a member of the State Bar of

17            California and the United States District Court for the Northern, Central,

18            Southern, and Eastern Districts of California. Ms. Romero serves as the co-chair

19            of the Younger Lawyers Division and member of the Executive Committee of the

20            Norther District of California Chapter of the Federal Bar Association. Ms. Romer

21            also serves in the Advisory Council of the Women in Leadership, Professional

22            Development Program offered by Regional & Continuing Education at CSU,

23            Chico.

24                     In this case, Ms. Romero assisted with various legal research projects,

25            including briefing on dispositive motions and class certification. Ms. Romero also

26            assisted with gathering information and supporting the Special Master process,

27            frequently interacting with Plaintiffs and experts to ensure accurate workflows.

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 1      o.    Abraham Barkhordar, Law Clerk. Abraham Barkhordar was born and raised in

 2            Los Angeles, California. He attended Santa Monica college where he played on

 3            the school water polo team before transferring to UCLA where he was admitted

 4            to the Honors Program and graduated, summa cum laude, with a major in History.

 5            While at UCLA, Abraham volunteered with Americorps’ Justicecorps program

 6            and also volunteered at a local immigration law firm. Thereafter, Mr. Barkhordar

 7            attended Harvard Law School where he co-founded and served as innagural co-

 8            president of the Harvard Plaintiffs’ law association—the first law student

 9            organization of its kind in the country. Since graduating from Harvard, Mr.

10            Barkhordar has joined the San Francisco office of Morgan & Morgan’s Complex

11            Litigation Group where he focuses on consumer class action litigation.

12                   In this case, Mr. Barkhordar assisted with various legal research projects,

13            including briefing on dispositive motions, class certification, sanctions, and

14            challenging Google’s belated disclosure of experts. Mr. Barkhordar also

15            supported the mock jury exercises to assist with trial preparation.

16      p.    David Reign. Mr. Reign is the former Assistant Special Agent in Charge of the

17            Tampa FBI Field office, with nearly 25 years of investigative experience. He has

18            investigated and managed some of the FBI’s most complex white-collar crime

19            cases, with an emphasis on health care fraud, public corruption, and financial

20            crimes. As Deputy Chief of the Enron Task Force, he led a team of investigators

21            and analysts in the successful investigation and prosecution of several executives

22            of the Enron Corporation. He received the Attorney General’s Award for

23            Exceptional Service for his work on the Enron matter.

24                   In this case, Mr. Reign assisted with background research on potential

25            custodians and deposition targets.

26      q.    Lee Walters – Mr. Walters is a former FBI Supervisory Special Agent with more

27            than 28 years of experience conducting investigations for the FBI, including

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 1            several years in the top-secret TacOps-Electronic Access Group. He worked on a

 2            variety of whitecollar crime matters including healthcare and bank fraud, public

 3            corruption, and violations of the Foreign Corrupt Practices Act. He was also one

 4            of the first agents assigned to the Whitewater investigation of Bill & Hillary

 5            Clinton. Mr. Walters spent 23 years as a Firearms Instructor and Defensive

 6            Tactics Instructor and 14 years in the Special Weapons & Tactics (SWAT)

 7            program as an Observer/Sniper. He was deployed as a SWAT member to the

 8            Branch Davidian siege in Waco, Texas, during the Los Angeles riots after the

 9            Rodney King verdict, and participated in numerous other high-risk operations.

10            Mr. Walters billed at $300 per hour, which is his ordinary and customary rate, and

11            which has been approved by other state and federal courts.

12                   In this case, Mr. Walters assisted with background research on potential

13            custodians and deposition targets.

14      r.    Jennifer Cabezas. Ms. Cabezas is a paralegal with more than 19 years of

15            experience. She obtained her associate in arts, paralegal studies from Keiser

16            University in 2007 where she was a member of the Phi Theta Kappa Honor

17            Society. She later obtained her bachelor’s in arts in Criminal Justice from Florida

18            International University in Miami, Florida. She assisted the attorneys with

19            document preparation, court filings, preparing deposition materials, electronic

20            discovery materials, mediation materials and other clerical tasks. Ms. Cabezas

21            billed at $225 per hour. Her billing rate has been approved for paralegals of her

22            experience level by other state and federal courts.

23      s.    Jennifer Miller. Ms. Miller has been employed as a paralegal at Morgan and

24            Morgan Complex Litigation Group since 2020 and employed as a litigation

25            paralegal since 1994. She served as Vice-president of the Greater Memphis

26            Paralegal Alliance from 2007 – 2013; a member of the Advisory Committee for

27            Paralegal Studies at Southwest Tennessee College and attended Middle

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 1                 Tennessee State University. She assisted the attorneys with document preparation,

 2                 court filings, preparing deposition materials, electronic discovery materials, and

 3                 other clerical tasks. Ms. Miller billed at $225 per hour. Her billing rate has been

 4                 approved for paralegals of her experience level by other state and federal courts.

 5          t.     Valerie Wagner. Ms. Wagner during her time with Morgan & Morgan was a

 6                 paralegal with 22 years of experience. She obtained a certificate in paralegal

 7                 studies from Louisiana State University in 2022, and later obtained her bachelor’s

 8                 degree in business administration and management from Louisiana State

 9                 University in 2013. She assisted the attorneys with document preparation, court

10                 filings, preparing deposition materials, electronic discovery materials, mediation

11                 materials and other clerical tasks. Ms. Wagner billed at $225 per hour. Her billing

12                 rate has been approved for paralegals of her experience level by other state and

13                 federal courts.

14          u.     Andrea Carbone. Ms. Carbone is a paralegal with 17 years of experience. She

15                 obtained her bachelor’s degree in political science from Northeastern University

16                 in 2012. She assisted the attorneys with document preparation, court filings,

17                 preparing deposition materials, electronic discovery materials, mediation

18                 materials and other clerical tasks. Ms. Wagner billed at $225 per hour. Her billing

19                 rate has been approved for paralegals of her experience level by other state and

20                 federal courts.

21          8.     The information for members of the firm’s document review team who worked

22   on this matter (below, in paragraph 16, I address how these attorneys substantively contributed

23   to this matter beyond routine document review) are as follows:

24          a.     Nicolette Best. Ms. Best graduated from Southern New Hampshire University

25                 with a Bachelor of Science and later obtained her juris doctorate from Santa Clara

26                 University School of Law. She is a member of the Nevada State Bar since 2019.

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 1            Ms. Best is a member of the Nevada Justice Association, and Entertainment Law

 2            Section of the State Bar of Nevada.

 3      b.    Carolyn Wilson. Ms. Wilson obtained her undergraduate degree from Cornell

 4            College, and her juris doctorate from the University of Arizona, James E. Rogers

 5            College of Law. She has been a member of the Arizona state bar since 1994. Ms.

 6            Wilson regularly billed at $919 per hour in other litigation, but her rate has been

 7            reduced to $676.

 8      c.    Kevin Davis. Mr. Davis attended Wayne State University        where he obtained a

 9            Bachelor of Science, Industrial/Organizational Psychology, with a Minor in

10            Communication. He graduated from the University of Detroit Mercy School of

11            Law and became a member of the Michigan State Bar in 1987. Mr. Davis regularly

12            billed at $919 per hour in other litigation, but his rate has been reduced to $676.

13      d.    Mian Ali. Ms. Alia received her Bachelor of Science from the University of

14            Oklahoma with High Honors. She attended the University of Oklahoma School

15            of Law and is a member of the Oklahoma State bar since 2019. Ms. Ali also served

16            as the research editor for the American Indian Law Review.

17      e.    Scott Davis. Mr. Davis attended the University of Tennessee at Martin where he

18            obtained a Bachelor of Science, Political Science / Geology, and graduated cum

19            laude. He attended the University of Memphis Cecil C. Humphreys School of Law

20            and became a member of the Tennessee State Bar in 2016. Mr. Davis is a member

21            of the Phi Sigma Alpha National Political Science Honor Society, Health Law

22            Society, and Public Action Law Society.

23      f.    Arnold Ashley. Mr. Ashley graduated Presbyterian College obtaining a Bachelor

24            of Science, Business Administration. He later attended the University of South

25            Carolina School of Law and became a member of the South Carolina State Bar in

26            1994. He is admitted to practice in the United States Court of Appeals for the

27            Fourth Circuit, and United States District Court for the District of South Carolina.

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 1            Mr. Ashely regularly billed at $919 per hour in other litigation, but his rate has

 2            been reduced to $676.

 3      g.    Ruth Richards. Ms. Richards attended the University of Michigan where she

 4            received a Bachelor of Arts in Economics with minor in Business. She obtained

 5            her Juris Doctorate from the Wayne State Law School. She is a member of the

 6            Michigan Bar since 1991. Mr. Richards regularly billed at $919 per hour in other

 7            litigation, but her rate has been reduced to $676.

 8      h.    Emily Reynolds. Ms. Reynolds attended Arkansas Tech University where she

 9            received a Bachelor of Science in Management and Marketing, and a Bachelor of

10            Science in Economics and Finance. She obtained her Juris Doctorate from the

11            University of Dayton School of Law and became a member of the Arkansas State

12            Bar in 2011. She is a Member of Garland County Bar Association, Saline County

13            Bar Association, Arkansas Bar Association, and American Bar Association.

14            regularly billed at $800 per hour in other litigation, but her rate has been reduced

15            to $676.

16      i.    David Morse. Mr. Morse obtained a Bachelor of Science, Physics from the

17            University of California, Los Angeles, and his juris doctorate from Loyola Law

18            School, Los Angeles. Mr. Morse was admitted to the California State Bar in 2000,

19            and the Delaware State bar in 2011. Mr. Morse regularly billed at $919 per hour

20            in other litigation, but his rate has been reduced to $676.

21      j.    Josh Autry. Mr. Autry attended Liberty University where he obtained a Bachelor

22            of Science. He later attended Washington & Lee University School of Law and

23            became a member of the Kentucky State Bar in 2008. Mr. Autry is also admitted

24            to practice in Pennsylvania State, U.S. Supreme Court, U.S. Court of Appeals,

25            Second Circuit, U.S. Court of Appeals, Third Circuit, U.S. Court of Appeals,

26            Sixth Circuit, U.S. District Court for the Eastern District of Kentucky, U.S.

27            District Court for the Northern District of Indiana, U.S. District Court for the

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 1            Eastern District of Kentucky, U.S. District Court for the Western District of

 2            Kentucky, U.S. District Court for the Northern District of Ohio, U.S. District

 3            Court for the Eastern District of Pennsylvania, U.S. District Court for the Middle

 4            District of Pennsylvania, and U.S. District Court for the Western District of

 5            Pennsylvania.

 6      k.    Mohamed Kakay. Mr. Kakay attended Morehouse College and University of

 7            Notre Dame where he obtained a Bachelor of Arts, Psychology and MBA. He

 8            received his juris doctorate from the University of Georgia and became a member

 9            of the Georgia State Bar in 2005. Mr. Kakay regularly billed at $919 per hour in

10            other litigation, but his rate has been reduced to $676.

11      l.    Brandon Weiner. Mr. Weiner received his Bachelor of Art, History and Master

12            of Arts, History from Emory University. He later attended University of Michigan

13            Law School where he obtained his juris doctorate. He became a member of the

14            Michigan State bar in 2011. Mr. Weiner was an Adjunct Lecturer - University of

15            Michigan-Ann Arbor, Legal Issues in the Arts (2016), Adjunct Professor - Eastern

16            Michigan University, graduate Law & Public Policy in the Arts (2013-14), Guest

17            Lecturer - College for Creative Studies, Business Practices for Designers (2014-

18            2017), and Advisor - Practice Space Detroit, business incubator for creative sector

19            entrepreneurs (2013-14).

20      m.    Fernando Guerra. Mr. Guerra received his Bachelor of Science in biochemistry

21            from the City University of New York at Queens College and later, his juris

22            doctorate from Fordham University School of Law. In 2003 he was admitted to

23            the New York State Bar. Mr. Guerra regularly billed at $919 per hour in other

24            litigation, but his rate has been reduced to $676.

25      n.    Michael Kang. Mr. Kang attended University of Illinois at Urbana-Champaign

26            where he earned his Bachelor of Art, Political Geography Pre-Law. He later

27            earned his juris doctorate from DePaul College of Law. He became a member of

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 1                  the Illinois State Bar in 2013. regularly billed at $800 per hour in other litigation,

 2                  but his rate has been reduced to $676.

 3          o.      Jeffrey Davidson. Mr. Davidson attended Western Michigan University where he

 4                  double majored and earned a Bachelor of Arts, Psychology and Bachelor of Arts,

 5                  Political Science. He obtained his juris doctorate from the University of Michigan

 6                  and became a member of the Illinois State Bar in 1987. Mr. Davidson regularly

 7                  billed at $919 per hour in other litigation, but his rate has been reduced to $676.

 8                         MORGAN & MORGAN’S ATTORNEYS’ FEES

 9          9.      Plaintiffs’ extensive efforts and comprehensive work, which necessitated

10   thousands of hours and significant expenditures, were essential for the prosecution of this case

11   and to reach the ensuing settlement.

12          10.     The lack of a damages class had no impact on the amount of work that Class

13   Counsel did and needed to do on behalf of the classes. Indeed, given the claims asserted, the

14   Plaintiffs’ theory of liability, and the requisite fact and expert discovery needed to prove

15   Plaintiffs’ claims regardless of the type of relief sought, the work needed to be performed (and

16   was performed) on behalf of the classes would not have changed. With no guarantee of

17   recovering any of its fees or costs, Morgan & Morgan made every effort to staff and litigate this

18   case as efficiently as possible.

19          11.     The time pressures in this case were extraordinary. The time necessary

20   to complete document review and depositions in the time frame provided was complicated

21   because of the novelty and uncertainty of the legal issues, the substantial size of the class, the

22   highly technical matters at the core of the case, and other factors that contributed to the

23   magnitude of the undertaking.

24          12.     Settlement Class Counsel prosecuted this case on a contingent-fee basis with no

25   guarantee of recovery. Each firm was forced to forgo other employment in order to devote the

26   time necessary to pursue this litigation. Settlement Class Counsel advanced costs with the

27   understanding that we would be paid a fee and receive reimbursement for costs only in successful.

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 1   Based on these inherent risks and contingent nature, Settlement Class Counsel expected to

 2   receive a risk enhancement for their work securing successful classwide relief. More recent cases

 3   where my lawyers have received a risk enhancement include: Bitmouni v. PaySafe, Dkt. 103, No.

 4   3:21-cv-641 (N.D. Cal. Feb. 2, 2024) (approving fees and multiplier based on Mr. Yanchunis’

 5   $1,450 billing rate); Hellyer v. Smile Brands Inc., Dkt. 95, No. 8:21-cv-1886 (C.D. Cal. Jan. 16,

 6   2024) (same); Stoll v. Musculoskeletal Inst. Chartered, No. 8:20-cv-1798 (M.D. Fla. Nov. 14,

 7   2022) (approving hourly rates and hours spent and awarding the requested multiplier).

 8          13.     The chart below sets forth the lodestar amount for Morgan and Morgan’s

 9   attorneys and paralegals through February 29, 2024:

10                          Date of
11    Biller                Admission     Role           Rate       Time            Total
      John Yanchunis              1980    Partner         $1,450.00   1941.6        $2,815,320.00
12    Mike Ram                    1982    Partner         $1,300.00   1462.6        $1,901,380.00
13    Mian Ali                    1987    Attorney          $381.00     3400        $1,295,400.00
      Jeffrey Davidson            1987    Attorney          $250.00   1140.7          $285,175.00
14    Mohamed Kakay               1987    Attorney          $250.00    848.7          $212,175.00
      Ruth Richards               1991    Attorney          $676.00   3483.8        $2,355,048.80
15
      Marcio Valladares           1993    Attorney        $1,000.00       510         $510,000.00
16    Arnold Ashley               1994    Attorney          $676.00   4439.7        $3,001,237.20
      Carolyn Wilson              1994    Attorney          $676.00     1535        $1,037,660.00
17
      Marie Appel                 1997    Attorney        $1,000.00       284         $284,000.00
18    Jean Martin                 1998    Partner         $1,150.00    465.4          $535,210.00
      David Morse                 2000    Attorney          $676.00   4012.5        $2,712,450.00
19    Kenya Reddy                 2001    Attorney        $1,000.00      11.3          $11,300.00
20    Shelby Serig                2004    Attorney          $850.00    478.1          $406,385.00
      Michael Kang                2008    Attorney          $676.00     1717        $1,160,692.00
21    Josh Autry                  2008    Attorney          $878.00      29.8          $26,164.40
22    Ryan McGee                  2009    Attorney          $878.00   4277.8        $3,755,908.40
      Emily Reynolds              2009    Attorney          $676.00   1980.2        $1,338,615.20
23    Ronald Podolny              2009    Attorney          $878.00        8.4          $7,375.20
      Brandon Weiner              2011    Attorney          $250.00    103.3           $25,825.00
24
      Patrick Barthle             2012    Attorney          $800.00      18.6          $14,880.00
25    Fernando Guerra             2015    Attorney          $250.00    913.2          $228,300.00
      Scott Davis                 2016    Attorney          $468.00     3305        $1,546,740.00
26
      Kevin Davis                 2016    Attorney          $676.00   2531.7        $1,711,429.20
27    Ra Amen                     2017    Attorney          $650.00    807.8          $525,070.00
      Francesca Burne             2017    Attorney          $650.00        8.7          $5,655.00
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      Nicolette Best                2019   Attorney            $381.00         3570    $1,360,170.00
 1
      Christina Romero              2019   Attorney            $381.00        315.5      $120,205.50
 2    Christopher Pollack           2020   Attorney            $538.00          12.9       $6,940.20
      Hope Whalen                   2022   Attorney            $381.00           7.9       $3,009.90
 3    Abraham
 4    Barkhordar                           Law Clerk           $381.00       234.8     $89,458.80
      David Reign                          Investigator        $500.00        71.9     $35,950.00
 5    Lee Walters                          Investigator        $300.00        37.5     $11,250.00
      Valerie Wagner                       Paralegal           $225.00       135.8     $30,555.00
 6
      Jennifer Cabezas                     Paralegal           $225.00       103.1     $23,197.50
 7    Jennifer Miller                      Paralegal           $225.00        80.2     $18,045.00
      Andrea Carbone                       Paralegal           $225.00        11.9      $2,677.50
 8
      Total                                                                44296.4 $29,410,854.80
 9

10          14.       Time records were kept contemporaneously. For each task performed,

11   timekeepers at my firm accounted for their time in 1/10th of an hour (six minute) increments and

12   included a brief narrative of the work performed.

13          15.       Morgan and Morgan’s rates are the market rates for these timekeepers based on

14   the position and years of experience for each timekeeper. The hourly rates of the professionals

15   in my firm, including my own, reflect experience and accomplishments in the area of class

16   litigation. The rate of $1,450 per hour which I charge for my time is commensurate with hourly

17   rates charged by my contemporaries around the country, including those rates charged by lawyers

18   with my level of experience who practice in the area of class litigation across the nation. Prior to

19   submitting the motion for attorneys’ fees, costs, and service awards, I compared and confirmed

20   the hourly rate of the professionals in my firm with lawyers at other law firms whose practice is

21   focused on class litigation. Moreover, as I have been retained as an expert on attorneys’ fees in

22   other class cases, and as part of my legal education, I routinely survey hourly rates charged by

23   lawyers around the country in published surveys, and review continuously as part of my

24   continuing education, motions for attorneys’ fees and opinions rendered by courts on attorneys’

25   fee requests.

26          16.       Morgan & Morgan deployed a number of document review attorneys in this case

27   who have technical educations and/or technical backgrounds and have practiced law for decades.

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 1   These document review attorneys have demonstrated technical proficiencies in other litigations

 2   involving highly technical documents, including In re Capital One and other cases that are

 3   currently being litigated in other courts. In these other litigations, those attorneys also assisted

 4   with deposition preparation and other non-document-review attorney tasks. We selected these

 5   attorneys based on their experience and demonstrated proficiency to make sense of Google

 6   document productions, which were a labyrinth of technical terms, used code words or code

 7   names, and covered complex data logs and architecture that even experienced engineers could

 8   not comprehend. They not only reviewed documents, but also helped Class Counsel to quickly

 9   prepare for depositions, expert development, motions practice, and even trial. Despite these more

10   substantive roles in this case, Class Counsel have reduced their rates below their typical hourly

11   rates to account for the blended nature of their work (i.e., both document review and assisting

12   preparation for depositions, hearings, and trial).

13                                 MORGAN & MORGAN’S COSTS

14          17.     Morgan and Morgan also incurred $196,887.03 in unreimbursed case-related

15   costs. A summary of Morgan and Morgan’s costs is as follows:

16
                         Cost Category                                 Amount
17                       4Discovery, LLC, Document Imaging               $1,519.99
                         Airfare                                        $55,843.15
18                       Court Fees                                        $935.06
19                       Shipping Costs                                    $559.34
                         Full Nelson Investigations                     $12,600.00
20                       Ground Transportation                          $10,369.29
21                       Hotels                                         $70,734.57
                         In-House Printing                                 $848.90
22                       Court Transcripts                                 $849.35
                         Lexitas, Court Reporter                           $182.00
23
                         Meals                                           $8,474.62
24                       Notarize, Inc., Notary Service                    $312.00
                         One Legal                                         $133.84
25
                         PACER                                           $3,586.65
26                       Trial Prep Room Blocks and War Rooms           $28,121.45
                         Service of Process                                $123.54
27
                         Research Materials (Publications)               $1,619.89
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                         Miscellaneous (Supplies, Subscriptions)        $11.99
 11
                         WestLaw                                        $61.40
 22                                                          Total $196,887.03
 33          18.     These costs do not include Morgan and Morgan’s substantial contributions to

 44   Class Counsel’s litigation fund, which was administered by Boies Schiller Flexner.

 55          19.     The firm has maintained reliable, individual records substantiating these costs,

 66   and this schedule was prepared from those records. As with fees, Plaintiffs have submitted those

 77   records to Google in advance of filing this Motion, and Plaintiffs are submitting them to this

 88   Court with this filing, for in camera review. This schedule reflects costs through March 31, 2024.

 99          I declare under penalty of perjury under the laws of Florida that the foregoing is true and

 10
10    correct.

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11           Executed this 23d day of April, 2024, at Tampa, Florida

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12                                                         /s/ John A. Yanchunis
                                                           John A. Yanchunis
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